        Case 2:23-cv-00024-AM           Document 25       Filed 11/13/23      Page 1 of 3




                             United States District Court
                              Western District of Texas
                                   Del Rio Division
   State of Texas
        Plaintiff,

   v.

   Alejandro Mayorkas, in his official
   capacity as Secretary of Department of
   Homeland Security; United States                           No. 2:23-cv-00024
   Department of Homeland
   Security; Merrick Garland, in his
   official capacity as Attorney General of the
   United States, United States
   Department of Justice,
          Defendants.


                              Motion for Extension of Time

TO THE HONORABLE JUDGE ALIA MOSES:

        Plaintiff, the State of Texas, requests an extension on its Response to Defendants’ Motion

to Dismiss and respectfully shows the following:

        Texas filed an Unopposed Motion for Leave to File an Amended Complaint on November

10, 2023. Dkt. 23. Texas’s Response to Defendants’ Motion to Dismiss the Original Complaint is

presently due November 13, 2023. Texas files this Motion in the event the Court denies its

Unopposed Motion for Leave to File an Amended Complaint. Should the Court do so, Texas

respectfully requests an extension of time to file a Response to Defendants’ Motion to Dismiss

until 30-days after the Court issues its Order.

        “When an act may or must be done within a specified time, the court may, for good cause,

extend the time: (A) with or without motion if . . . a request is made before[] the original time or
            Case 2:23-cv-00024-AM           Document 25         Filed 11/13/23       Page 2 of 3




its extension expires.” 1 “Rule 6(b)(1)(A) gives the court wide discretion to grant a request for

additional time that is made prior to the expiration of the period originally prescribed or prior to

the expiration of the period as extended by a previous order.” 2 “[A]n application for extension of

time under Rule 6(b)(1)(A) normally will be granted in the absence of bad faith on the part of the

party seeking relief or prejudice to the adverse party.” 3

           This extension is not sought for delay, and an extension will not affect any scheduling order

in this case.


    Dated November 13, 2023.                            Respectfully submitted.

    Ken Paxton                                          Ryan D. Walters
    Attorney General of Texas                           Chief, Special Litigation Division

    Brent Webster                                       /s/ Amy Snow Hilton
    First Assistant Attorney General                    Amy Snow Hilton
                                                        Special Counsel
    Grant Dorfman                                       Tex. State Bar No. 24097834
    Deputy First Assistant Attorney General             Amy.Hilton@oag.texas.gov

    Ralph Molina                                        COUNSEL FOR THE STATE OF TEXAS
    Deputy Attorney General for Legal Strategy

    Office of the Attorney General of Texas
    P.O. Box 12548, Capitol Station
    Austin, Texas 78711-2548
    (512) 463-4139




1
    Fed. R. Civ. P. 6(b)(1)

2
    Charles Alan Wright & Arthur R. Miller, 4B Fed. Prac. & Proc. Civ. § 1165 (4th ed. April 2017).

3
    Id.
        Case 2:23-cv-00024-AM           Document 25       Filed 11/13/23   Page 3 of 3




                                  CERTIFICATE OF CONFERENCE

       I certify that on November 13, 2023, I attempted to confer with counsel for Defendants but

had not yet received a response at the time of filing.

                                                     /s/ Amy Snow Hilton
                                                     Amy Snow Hilton


                                     CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on November 13, 2023, and that all counsel of record were served by CM/ECF.


                                                     /s/ Amy Snow Hilton
                                                     Amy Snow Hilton
